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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0017V
                                        UNPUBLISHED


    ANTHONY LAWLER,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: August 27, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Table Injury;
    HUMAN SERVICES,                                         Tetanus Diphtheria acellular
                                                            Pertussis (Tdap) Vaccine; Shoulder
                       Respondent.                          Injury Related to Vaccine
                                                            Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.


                                   RULING ON ENTITLEMENT1

       On January 3, 2019, Anthony Lawler filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges a Table claim that he suffered a left shoulder injury
related to vaccine administration (“SIRVA”) after receiving the tetanus, diphtheria,
acellular pertussis (“Tdap”) vaccine on July 12, 2017. Petition at 1, ¶¶ 1, 20. The case
was assigned to the Special Processing Unit of the Office of Special Masters.




1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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      On June 24, 2020, I made a factual finding, determining there is preponderant
evidence to establish that Petitioner’s manifestation of onset after vaccine administration
occurred within 48 hours. Fact Ruling at 2, 6, ECF No. 24.

       Respondent has filed an amended Rule 4 report indicating that “[w]hile preserving
his right to appeal the Chief Special Master’s June 24, 2020 Findings of Fact,
[R]espondent submits that [P]etitioner has otherwise satisfied the criteria set forth in the
Vaccine Injury Table and the Qualifications and Aids to Interpretation (“QAI”) for SIRVA.”
Rule 4 Report, filed Aug. 25, 2020, at 2, ECF No. 29 (citing 42 C.F.R §§ 100.3(a)(XIV)
and (c)(10) (applicable portions of Vaccine Table and QAI)). Respondent adds that
“based on the record as it now stands and subject to his right to appeal the Findings of
Fact, [R]espondent does not dispute that [P]etitioner has satisfied all legal prerequisites
for compensation under the Act.” Id. at 6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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